Case 18-42579 Doc 2 Filed lN/'FLU§SJNEE@§I@'§MMYI§&UWHM Document Page 1 of 3
EASTERN DlSTRlCT OF TEXAS

SHERMAN D|VlSlON
IN RE: E|ite Arms and Suppiy, LLC CASE NO

CHAPTER 7

ERIF|CAT|O OF CRED|TOR NlATR|X

  
   
 

The above named Debtor hereby verifies that le and correct to the best of his/her knowledge

Date 10126/2018 Signature j,/ /s/

" y Authorized Signer

 

 

Case 18-42579 Doc 2 Filed 11/14/18 Entered 1]]14/18 12:33:06 Desc Main Document Page 2 of 3

2nd Amendment Ammunition
7074 Fairwood Cour't
High|and , CA 923-46

A|tus G|oba| Trade So|utions
2400 Veterans Memeoria| B|vd ste. 300
Kenner, LA 70062

Bank Of Stockton Visa
Card Service Center PO Bc)>< 569091
Da|las, TX 75356-9091

BeneHi
PO Box 64671
Ba|timore, MD 21264-4671

Chase Visa - Mark Davis
Cardmemeber Service PO Box 6294
Caro| Stream, IL 60197-6294

CST Co.
PO Box 33127
Louisvi||e, KY 40232-3127

First Home Bank
700 Centra| Averlue
St. Petersburg, FL 33701

Gun Accesory Supply
PO BOX 1228
Oakda|e, CA 95361

Lipsey's
PO Bo>< 83280
Baton Rouge, LA 70809

PG &E
PO BOx 997300
Sacramento, CA 95899-7300

Acusport Corporation
PO Box 205936
Da||as, TX 75320-593

Ath|etics Unlimited
Attn: Bng 243-A

5201 Luce Ave.

McCle|Ian Park, CA 95652

Bay A|arm
PO Box 7137
San Francisco, CA 94120-7137

Blade Tech
5530 184th Ste A
Puya||up, WA 98375

Chase Visa- Robert
Cardmemeber Service PO Box 6294
Caro| Stream, IL 60197-6294

Davidsons
2625 Stearman Road
Prescott, AZ 86301

Frank and Filomena Panetta
26924 Ha|ifa>< P|ace
Hayward, CA 94542

Iheart Media
File # 56107
Los Ange|es, CA 90074-6107

Luxottica
PO Bo)< 50987
Los Ange|es, CA 90074-0987

PLE Wholesa|e
2625 Stearman Road
Prescott, AZ 86301

Acusport Corporation
One Hunter P|ace
Be|!efontaine, OH 43311

Bank Of Stockton Line of
Credit

PO Box 1110

Stockt0n95201

Bear F|ag Defense
PO Bo>< 1315
simi valley, CA 93502

Bowdich & Associates, PLLC
10440 Nc>rth Centra| Expressway Suite
1540

Da||as, TX 75231

Comcast
PO Bo)< 34744
Seatt|e, WA 98124-1744

Ellett Brothers
267 Columbia Ave
Chapin, SC 29036

Global Hawk Resources, LLC
Po Box 2010
Methuen, MA 01844

Kimber
NW 5223 PO Box 1450
Minneapo|is, MN 55485-5223

Morgan,Cohen & Bach, LLC
7225 N.Mona Lisa Rd. Suite 200
Tucson, AZ 85741

Robert Davis

Case 18-42579 Doc 2

RSR Group
4405 Metric Drive
Winter Par|< , FL 32792

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PO Box 64192
Ba|timore, MD 21264-4192

She|lcross|ee Real Estate

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Hayward, CA 94543

Templar Ordnance

Filed 11/14/18 Entered 1]]14/18 12:33:06 Desc Main Document Page 3 of 3

Sig Sauer
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Lewiston, ME 04243~9497

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Barneve|d, WI 53507

